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UNITED ST ATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                        I ELECTRONICALLY FILED
                                                                     I DOC#:_ _ _~'---+---
 ELIZABETH MOELLER, individually and on                              I DATE FILED:        f()/i4    },g
 behalf of all others similarly situated,

                                Plaintiff,               Civil Action No. 15-cv-05671-NRB
         V.

 ADVANCE ty!AGAZINE PUBLISHERS, INC.
 d/b/a CONDE NAST,

                                Defendant.


               [PROP6iED] ORDER GRANTING PRELIMINARY APPROVAL
              OF CLASS ACTION SETTLEMENT AGREEMENT, CERTIFYING
             SETTLEMENT CLASS, APPOINTING CLASS REPRESENTATIVE,
             APPOINTING CLASS COUNSEL, AND APPROVING NOTICE PLAN

       WHEREAS, a class action is pending before the Court entitled Moeller v. Advance

Magazine Publishers, Inc. dlbla Conde Nast, No. l:15-cv-05671-NRB; and

       WHEREAS, Plaintiff Elizabeth Moeller and Defendant Advance Magazine Publishers,

Inc. d/b/a Conde Nast, have entered into a Class Action Settlement Agreement, which, together

with the exhibits attached thereto, sets forth the terms and conditions for a proposed settlement

and dismissal of the Action with prejudice as to Defendant upon the terms and conditions set

forth therein (the "Settlement Agreement"), and the Court having read and considered the

Settlement Agreement and exhibits attached to;

       This matter coming before the Court upon the agreement of the parties, good cause being

shown, and the Court being fully advised in the premises,

IT IS HEREBY ORDERED, DECREED, AND ADJUDGED AS FOLLOWS:

        1.      Terms and phrases in this Order shall have the same meaning as ascribed to them

in the Settlement Agreement.

       2.       The Parties have moved the Court for an order approving the settlement of the
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Action in accordance with the Settlement Agreement, which, together with the documents

incorporated therein, sets forth the terms and conditions for a proposed settlement and dismissal

of the Action with prejudice, and the Court having read and considered the Settlement

Agreement and having heard the parties and being fully advised in the premises, hereby

preliminarily approves the Settlement Agreement in its entirety subject to the Final Approval

Hearing referred to in paragraph 5 of this Order.

        3.     This Court finds that it has jurisdiction over the subject matter of this action and

over all Parties to the Action.

       4.      The Court finds that, subject to the Final Approval Hearing, the Settlement

Agreement is fair, reasonable, and adequate, within the range of possible approval, and in the

best interests of the Settlement Class set forth below. The Court further finds that the Settlement

Agreement substantially fulfills the purposes and objectives of the class action, and provides

substantial relief to the Settlement Class without the risks, burdens, costs, or delay associated

with continued litigation, trial, and/or appeal. The Court also finds that the Settlement

Agreement (a) is the result of arm's-length negotiations between experienced class action

attorneys; (b) is sufficient to warrant notice of the settlement and the Final Approval Hearing to

be disseminated to the Settlement Class; (c) meets all applicable requirements of law, including

Federal Rule of Civil Procedure 23 and the Class Action Fairness Act ("CAF A"), 28 U.S.C. §

1715; and (d) is not a finding or admission of liability by the Defendant or any other person, nor

a finding of the validity of any claims asserted in the Action or of any wrongdoing or any

violation oflaw.

Final Approval Hearing

       5.      The Final Approval Hearing shall be held before this Court on February 28,




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2019, at 11:00 A.M. in Courtroom 21A at Daniel Patrick Moynihan United States Courthouse,

500 Pearl Street, New York, New York to determine (a) whether the proposed settlement of the

Action on the terms and conditions provided for in the Settlement Agreement is fair, reasonable,

and adequate and should be given final approval by the Court; (b) whether a judgment and order

of dismissal with prejudice should be entered; (c) whether to approve the payment of attorneys'

fees, costs, and expenses to Class Counsel; and (d) whether to approve the payment of an

incentive award to the Class Representative. The Court may adjourn the Final Approval Hearing

without further notice to members of the Settlement Class.

        6.     Class Counsel shall file papers in support of their Fee Award and Class

Representatives' Incentive Awards (collectively, the "Fee Petition") with the Court on or before

December 20, 2018. Defendant may, but is not required to, file a response to Class Counsel's

Fee Petition with the Court on or before January 31, 2019. Class Counsel may file a reply in

support of their Fee Petition with the Court on or before February 11, 2019.

        7.     Papers in support of final approval of the Settlement Agreement and any

supplementation to the Fee Petition shall be filed with the Court on or before February 11,

2019.

Certification of the Settlement Class

        8.     For purposes of settlement only: (a) Bursor & Fisher, P.A. is appointed Class

Counsel for the Settlement Class; and (b) Elizabeth Moeller is named Class Representative. The

Court finds that these attorneys are competent and capable of exercising the responsibilities of

Class Counsel and that Plaintiff Moeller will adequately protect the interests of the Settlement

Class defined below.

        9.     For purposes of settlement only, the Court conditionally certifies the following




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Settlement Class as defined in the Settlement Agreement:

                [A]ll Persons with a Michigan street address who subscribed to a
                Conde Nast Publication to be delivered to a Michigan street
                address between July 20, 2009 and July 30, 2016.

        10.    The Court finds, subject to the Final Approval Hearing referred to in Paragraph 5

above, that the Settlement Agreement is fundamentally fair, adequate, and reasonable, and,

solely within the context of and for the purposes of settlement only, that the Settlement Class

satisfies the requirements of Rule 23 of the Federal Rules of Civil Procedure, specifically, that:

the Settlement Class is so numerous that joinder of all members is impracticable; there are

questions of fact and law common to the Settlement Class (e,g., whether Defendant unlawfully

disclosed to third parties Plaintiffs and the Settlement Class's Subscriber Information without

consent in a manner that violated the Michigan Preservation of Personal Privacy Act, M.C.L. §§

445 .1712, et al. ("PPPA "), and whether Plaintiff and the Settlement Class members are entitled

to uniform statutory damages under the PPPA); the claims of the Class Representative are typical

of the claims of the members of the Settlement Class; the Class Representative and Class

Counsel will fairly and adequately protect the interests of the members of the Settlement Class;

common questions of law or fact predominate over questions affecting individual members; and

a class action is a superior method for fairly and efficiently adjudicating the Action.

        11.    If the Settlement Agreement does not receive the Court's final approval, or if final

approval is reversed on appeal, or if the Settlement Agreement is terminated or otherwise fails to

become effective, the Court's grant of settlement class certification shall be vacated, and the

Class Representative will once again bear the burden of establishing the propriety of class

certification. In such case, neither the certification of the Settlement Class for settlement

purposes, nor any other act relating to the negotiation or execution of the Settlement Agreement




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shall be considered as a factor in connection with any class certification issue(s).

Notice and Administration

        12.    The Court approves, as to form, content, and distribution, the Notice Plan set forth

in the Settlement Agreement, including Claim Form attached to the Settlement Agreement as

Exhibit A, the Notice Plan and all forms of Notice to the Settlement Class as set forth in the

Settlement Agreement and Exhibits B, C, and D thereto, and finds that such Notice is the best

notice practicable under the circumstances, and that the Notice complies fully with the

requirements of the Federal Rules of Civil Procedure. The Court also finds that the Notice

constitutes valid, due and sufficient notice to all persons entitled thereto, and meets the

requirements of Due Process. The Court further finds that the Notice is reasonably calculated to,

under all circumstances, reasonably apprise members of the Settlement Class of the pendency of

this action, the terms of the Settlement Agreement, and the right to object to the settlement and to

exclude themselves from the Settlement Class. In addition, the Court finds that no notice other

than that specifically identified in the Settlement Agreement is necessary in this Action. The

Parties, by agreement, may revise the Notice and Claim Form in ways that are not material, or in

ways that are appropriate to update those documents for purposes of accuracy or formatting.

       13.     The Court approves the request for the appointment of JND Legal Administration

as Settlement Administrator of the Settlement Agreement.

       14.     Pursuant to paragraph 4.1 of the Settlement Agreement, the Settlement

Administrator is directed to publish the Notice and Claim Form on the Settlement Website and to

send direct notice via U.S. Mail and email in accordance with the Notice Plan called for by the

Settlement Agreement. lbe Settlement Administrator shall also maintain the Settlement Website

to provide full information about the Settlement and allow for the filing of claims online.




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Submission of Claims and Requests for Exclusion from Class

        15.     Members of the Class who wish to receive benefits under the Settlement

Agreement must complete and submit a timely and valid Claim Form(s) in accordance with the

instructions contained therein. All Claim Forms must be postmarked or received by the

Settlement Administrator within forty-five (45) days after the date of the entry of the Final

Judgment.

        16.     Any person falling within the definition of the Settlement Class may, upon valid

and timely request, exclude themselves or "opt out" from the Class. Any such person may do so

if, on or before the Objection/Exclusion Deadline of January 26, 2019 they comply with the

exclusion procedures set forth in the Settlement Agreement and Notice. Any members of the

Class so excluded shall neither be bound by the terms of the Settlement Agreement nor entitled

to any of its benefits.

        17.     Any members of the Settlement Class who elect to exclude themselves or "opt

out" of the Settlement Agreement must file a written request with the Settlement Administrator,

received or postmarked no later than the Objection/Exclusion Deadline. The request for

exclusion must comply with the exclusion procedures set forth in the Settlement Agreement and

Notice and include the Settlement Class member's name and address, the name of the Conde

Nast Publication to which he or she is a subscriber, a signature, the name and number of the case,

and a statement that he or she wishes to be excluded from the Settlement Class for the purposes

of this Settlement. Each request for exclusion must be submitted individually. So called "mass"

or "class" opt-outs shall not be allowed.

        18.     Individuals who opt out of the Class relinquish all rights to benefits under the

Settlement Agreement and will not release their claims. However, members of the Settlement




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Class who fail to submit a valid and timely request for exclusion shall be bound by all terms of

the Settlement Agreement and the Final Judgment, regardless of whether they have requested

exclusion from the Settlement Agreement.

Appearances and Objections

       19.     At least twenty-one (21) calendar days before the Settlement Hearing, any person

who falls within the definition of the Settlement Class and who does not request exclusion from

the Class may enter an appearance in the Action, at their own expense, individually or through

counsel of their own choice. Any Settlement Class Member who does not enter an appearance

will be represented by Class Counsel.

       20.     Any members of the Settlement Class who have not timely filed a request for

exclusion may object to the fairness, reasonableness, or adequacy of the Settlement Agreement

or to a Final Judgment being entered dismissing the Action with prejudice in accordance with the

terms of the Settlement Agreement, or to the attorneys' fees and expense reimbursement sought

by Class Counsel in the amounts specified in the Notice, or to the award to the Class

Representatives as set forth in the Notice and Settlement Agreement. At least thirty (30) days

prior to the Objection/Exclusion Deadline, papers supporting the Fee Award shall be filed with

the court and posted to the settlement website. Members of the Class may object on their own,

or may do so through separate counsel at their own expense.

       21.     To object, members of the Class must sign and file a written objection no later

than on or before the Objection/Exclusion Deadline of January 26, 2019. To be valid, the

objection must comply with the objection procedures set forth in the Settlement Agreement and

Notice, and include his or her name and address; an explanation of the basis upon which he or

she claims to be a Settlement Class Member, including the Conde Nast Publication to which he




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or she is or was a subscriber; a signature; all grounds for the objection, including all citations to

legal authority and evidence supporting the objection; the name and contact information of any

and all attorneys representing, advising, or in any way assisting him or her in connection with the

preparation or submission of the objection or who may profit from the pursuit of the objection

(the "Objecting Attorneys"); and a statement indicating whether he or she intends to appear at

the Final Approval Hearing (either personally or through counsel who files an appearance with

the Court in accordance with Southern District of New York Local Rules). If a Settlement Class

Member or any of the Objecting Attorneys has objected to any class action settlement where the

objector or the Objecting Attorneys asked for or received any payment in exchange for dismissal

of the objection, or any related appeal, without any modification to the settlement, then the

objection must include a statement identifying each such case by full case caption.

        22.     Members of the Class who fail to file and serve timely written objections in

compliance with the requirements of this paragraph and the Settlement Agreement shall be

deemed to have waived any objections and shall be foreclosed from making any objections

(whether by appeal or otherwise) to the Settlement Agreement or to any of the subjects listed in

paragraph 5, above, i.e. (a) whether the proposed settlement of the Action on the terms and

conditions provided for in the Settlement Agreement is fair, reasonable, and adequate and should

be given final approval by the Court; (b) whether a judgment and order of dismissal with

prejudice should be entered; (c) whether to approve the payment of attorneys' fees and expenses

to Class Counsel; and (d) whether to approve the payment of an incentive award to the Class

Representative ..

        23.     To be valid, objections must be filed with the Court and sent to the following:

Class Counsel Scott A. Bursor of Bursor & Fisher, P.A., 888 Seventh Avenue, New York, NY




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10019; and Defendant Conde Nast's Counsel Natalie J. Spears, Dentons US LLP, 233 South

Wacker Drive, Suite 5900, Chicago, IL 60606. In addition, any objections made by a Class

member represented by counsel must be filed through the Court's CM/ECF system.

Further Matters

        24.       All further proceedings in the Action are ordered stayed until Final Judgment or

termination of the Settlement Agreement, whichever occurs earlier, except for those matters

necessary to obtain and/or effectuate final approval of the Settlement Agreement.

        25.       Members of the Settlement Class shall be bound by all determinations and

judgments in the Action concerning the Action and/or Settlement Agreement, whether favorable

or unfavorable.

        26.     The Court retains jurisdiction to consider all further applications arising out of or

connected with the proposed Settlement Agreement. The Court may approve the Settlement,

with such modifications as may be agreed to by the Parties, if appropriate, without further notice

to the Class.

        27.     Any Settlement Class Member who does not timely and validly submit a claim:

(a) shall be forever barred from participating in any distributions of the Settlement Fund; (b)

shall be bound by the provisions of the Settlement Agreement and all proceedings,

determinations, orders and judgments in the Action relating thereto, including, without

limitation, the Judgment or Alternate Judgment, if applicable, and the Releases provided for

therein, whether favorable or unfavorable to the Class; and (c) shall forever be barred and

enjoined from directly or indirectly filing, commencing, instituting, prosecuting, maintaining, or

intervening in any action, suit, cause of action, arbitration, claim, demand, or other proceeding in

any jurisdiction, whether in the United States or elsewhere, on their own behalf or in a




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representative capacity, that is based upon or arises out of any or all of the Released Claims

against any of the Defendant and the other Released Parties, as more fully described in the

Settlement Agreement.

        28.    If the Settlement Agreement is not approved by the Court in complete accordance

with its terms, each party will have the option of having the Action revert to its status as if the

Settlement Agreement had not been negotiated, made, or filed with the Court. In such event, the

parties will retain all rights as if the Settlement Agreement was never agreed upon.

       29.     In the event that the Settlement Agreement is terminated pursuant to the

provisions of the Settlement Agreement or for any reason whatsoever the approval of it does not

become Final then (i) the Settlement Agreement shall be null and void, including any provision

related to the award of attorneys' fees, and shall have no further force and effect with respect to

any party in this Action, and shall not be used in this Action or in any other proceeding for any

purpose; (ii) all negotiations, proceedings, documents prepared, and statements made in

connection therewith shall be without prejudice to any person or party hereto, shall not be

deemed or construed to be an admission by any party of any act, matter, or proposition, and shall

not be used in any manner or for any purpose in any subsequent proceeding in this Action or in

any other action in any court or other proceeding, provided, however, that the termination of the

Settlement Agreement shall not shield from subsequent discovery any factual information

provided in connection with the negotiation of this Settlement Agreement that would ordinarily

be discoverable but for the attempted settlement; (iii) other than as expressly preserved by the

Settlement Agreement in the event of its termination, the Settlement Agreement shall have no

further force and effect with respect to any party and shall not be used in the Action or any other

proceeding for any purpose; and (iv) any party may elect to move the Court pursuant to the




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provisions of this paragraph, and none of the non-moving parties (or their counsel) shall oppose

any such motion.



ITISSOORDERED,this ~ a y o f               ~~                ,2018.



                              L-Q~
                              The Honorable Naomi Reice Buchwald
                              United States District Judge




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